AO 245B (Rev. 10/15) Judgment in a Criminal Case
                   Sheet 1


                              UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF WISCONSIN
          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                     V.
          WILLIAM LEE HOMAN                                                  Case Number: 24-CR-169

                                                                             USM Number: 42917-511

                                                                             Craig Powell
                                                                             Defendant's Attorney
                                                                             Aaron Jennen and Zachary Corey
                                                                             Assistant United States Attorney

THE DEFENDANT:
:     pleaded guilty to sole count of the information.
9     pleaded nolo contendere to count(s)
      which was accepted by the court.
9     was found guilty on count(s)
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                            Offense Ended                      Count


 18 U.S.C. § 371               Conspiracy to Commit Bribery Concerning                            10/18/2023                         1
                               Programs Receiving Federal Funds


     The defendant is sentenced as provided in Pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
9     The defendant has been found not guilty on count(s)
9     Information is dismissed on the motion of the United States.
       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and the United States attorney of material changes in economic circumstances.

                                                                                       12/12/2024
                                                                                       Date of Imposition of Judgment

                                                                                       /s Lynn Adelman

                                                                                       Signature of Judicial Officer

                                                                                       Lynn Adelman, District Judge
                                                                                       Name & Title of Judicial Officer

                                                                                       12/12/2024
                                                                                       Date


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AO 245B (Rev 10/15) Judgment in a Criminal Case:
         Sheet 4 - Probation
Defendant: William Lee Homan
Case Number: 24-CR-169
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of 3 years.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
      : The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
           substance abuse. (Check, if applicable.)
      9 The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
      : The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
           is a student, as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
      of Payments sheet of this judgment.

                                                   CONDITIONS OF SUPERVISION

1. Unless directed otherwise by the probation officer, the defendant must report to the probation office in the federal judicial district where
the defendant resides within 72 hours of placement on probation.
2. After initially reporting to the probation office, the defendant will receive instructions from the Court or the probation officer about how
and when the defendant must report to the probation officer, and the defendant must report to the probation officer as instructed.
3. The defendant must not own, possess, or have under the defendant’s control a firearm, ammunition, destructive device, or dangerous
weapon.
4. The defendant must not knowingly leave the federal judicial district without first getting permission from the Court or the probation
officer.
5. The defendant must follow the instructions of the probation officer designed to make sure the defendant complies with the conditions
of supervision.
6. The defendant must answer truthfully the questions asked by the probation officer related to the conditions of supervision, subject to
his Fifth Amendment privilege.
7. The defendant must work full-time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses the
defendant from doing so. If the defendant does not have full-time employment, the defendant must try to find full-time employment, unless
the probation officer excuses the defendant from doing so. If the defendant plans to change where they work or anything about their work
(such as position or job responsibilities), the defendant must tell the probation officer at least ten calendar days before the change. If telling
the probation officer in advance is not possible due to unanticipated circumstances, the defendant must tell the probation officer within 72
hours of the change.
8. The defendant must live at a place approved by the probation officer. If the defendant plans to change where the defendant lives or
anything about the defendant’s living arrangements (such as the people the defendant lives with), the defendant must tell the probation
officer at least ten calendar days before the change. If telling the probation officer in advance is not possible due to unanticipated
circumstances, the defendant must tell the probation officer within 72 hours of the change.
9. If the defendant knows someone is committing a crime, or is planning to commit a crime, the defendant must not knowingly communicate
or interact with that person in any way.
10. The defendant must allow the probation officer to visit the defendant at reasonable times, at home or other reasonable location, and
the defendant must permit the probation officer to take any items prohibited by the conditions of supervision that the probation officer
observes in plain view.
11. If the defendant is arrested or questioned by a law enforcement officer, the defendant must tell the probation officer within 72 hours.
12. The defendant must not make any agreement with a law enforcement agency to act as an informer or a special agent without first getting
the permission of the Case
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AO 245B (Rev 10/15) Judgment in a Criminal Case:
          Sheet 4A - Probation
Defendant: William Lee Homan
Case Number: 24-CR-169


                                                   ADDITIONAL PROBATION TERMS

The defendant shall participate in the Location Monitoring Program for a period of 9 months. During this time, he
shall be restricted to his residence at all times except for employment, education, religious services, medical,
substance abuse and mental health treatment, or other activities as approved by the officer (home detention). He
shall follow all program rules and pay all or part of the costs of participation in the Location Monitoring Program
as directed by the Court and/or the officer.




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AO 245B (Rev 10/15) Judgment in a Criminal Case:
          Sheet 5 - Criminal Monetary Penalties

Defendant: William Lee Homan
Case Number: 24-CR-169


                                              CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                   Assessment                      Fine                        Restitution
           Totals:                                 $100.00                         N/A                         N/A




      9 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
          be entered after such determination.

      9 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.


Name of Payee                                      Total Loss*                Restitution Ordered               Priority or Percentage




Totals:                                            $                         $

9 Restitution amount ordered pursuant to plea agreement $
9 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

9 The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     9 the interest requirement is waived for the         9 fine             9 restitution.
     9 the interest requirement for the                   9 fine             9 restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

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AO 245B (Rev 10/15) Judgment in a Criminal Case:
    Sheet 6 - Schedule of Payments

Defendant: William Lee Homan
Case Number: 24-CR-169


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A     :     Lump sum payment of $100.00 due immediately, balance due
            9 not later than                          , or
            9 in accordance 9 C, 9 D, 9 E or 9 F below; or
B     9     Payment to begin immediately (may be combined with          9 C, 9 D, or 9 F below); or
C     9     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                 (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
D     9     Payment in equal                      (e.g ., weekly, monthly, quarterly) installments of $                    over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprison-
            ment to a term of supervision; or
E     9     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F     9     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




9 Joint and Several
      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate:




9 The defendant shall pay the cost of prosecution.
9 The defendant shall pay the following court cost(s):
:    The defendant shall forfeit the defendant's interest in the following property to the United States: As indicated in the Court’s
Preliminary Order of Forfeiture dated 10/2/2024.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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